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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                            NO. 4:08CR00290-002 SWW

CAMEKO L. COGSHELL




                                    ORDER

      Defendant appeared for a change of plea hearing before this Court

on February 27, 2009 at which time the Court directed that the Order

Setting Condition of Release [doc #15] be modified to include drug

testing.

      IT IS THEREFORE ORDERED that defendant’s conditions of release shall

be modified to include the condition of drug testing (7)(q) under the

supervision and guidance of the U. S. Probation Office.               All other

conditions remain in effect.

      DATED this 4th day of March 2009.



                                            /s/Susan Webber Wright
                                            UNITED STATES DISTRICT JUDGE
